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           EXHIBIT 3
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Governski, Meryl Conant

From:                              Joe Sibley <sibley@camarasibley.com>
Sent:                              Friday, August 26, 2022 2:38 PM
To:                                Houghton-Larsen, M Annie
Cc:                                Gottlieb, Michael; Governski, Meryl Conant; John Langford
Subject:                           Re: Freeman - Discovery Deficiencies



                                           *** EXTERNAL EMAIL ***

Annie,

Further to this, I am going to need at least a couple of more weeks to address the priv log/privilege issues, as we
are still gathering information and we need to see how your second requests for production affect the log/priv
issues as well as the electronic devices that are being searched pursuant to your search terms.

I also hope to have any non-privileged documents responsive to the search terms you requested ready by that
time as well.

Thanks,

Joe



On Fri, Aug 19, 2022 at 4:13 PM Joe Sibley <sibley@camarasibley.com> wrote:
 Annie:

 See below -- we will continue to work on supplementing/providing information you have requested. Mr.
 Giuliani, as you know, was travelling this week and I have had an illness so I am still working on gathering
 more information. As you know, with the number of people involved this is not a simple task. However, I will
 have more information for you in the next 1-2 weeks as we reassess the privilege log and determine what
 additional documents exist based on the return of the electronic devices. Have a nice weekend.

 On Fri, Aug 12, 2022 at 2:06 PM Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com> wrote:

  Mr. Sibley,



  Thank you very much for the update. We look forward to receiving the following by Friday August 19th:

      1. A detailed explanation of how Defendant identified the documents produced in Dominion, including, but not
           limited to: his collection methodology; the Communications, Documents, and Social Media (as defined in the
           First Set of RFPs) collected and searched; the search methodology; the discovery vendor utilized; the search
           terms Defendant applied; all of the custodians from which the materials were produced; and how Defendant
           came to have access to and produce documents on which he is not a custodian;



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The response to this inquiry will also answer many others so it will be referred to later in this email response.

Documents were not collected for any of the litigation regarding the 2020 Election until after the FBI seized
Mr. Giuliani's electronic devices. At that time, the only documents Giuliani was personally left with were
paper files at his apartment in NYC. These files were reviewed for responsiveness to discovery requests in the
Dominion, and the Jan 6th committee subpoena. All potentially responsive documents were then imaged and
where they were further reviewed for responsiveness and privilege and prepared for production. Non-
privileged, responsive documents were produced. I am attaching January 6th Subpoena to Giuliani for your
review.

We also received files from Judges Kaman and Leventhal who represented Giuliani in grievance proceedings
with the NY and (I believe also) DC bars (this should also answer your questions as to the nature of the
privilege assertion with respect to those parties). Non-privileged documents from those files were provided to
us for inclusion in the Dominion/Jan 6th production. They were imaged and also reviewed for responsiveness
and privilege and non-privileged, responsive documents were produced to Dominion/Jan 6th committee.

In addition to these paper files that were in Giuliani's apartment, we collected documents from Christiane Allen
(former PR person for Giuliani), who was subpoenaed by Dominion in its litigation with Fox News in
Delaware. She produced her communications with various news agencies regarding interview
requests/responses. They were imaged and reviewed for responsiveness/privilege. Non-privileged, responsive
documents were produced to Dominion/Jan 6th committee. I am attaching that subpoena for your review.

Finally, we obtained documents from Christina Bobb who was a lawyer working under Giuliani during the
Election litigation. She was also subpoenaed by the Jan 6th Committee (see attached). Her files were imaged,
reviewed for privilege and responsiveness, and non-privileged, responsive documents were produced to
Dominion/Jan 6th committee.

As for search terms -- we did not apply any because the electronic devices were not available to search. Now
that we have those devices, we will perform searches in accordance with the search terms you have requested.




    1.
    2. A detailed explanation for how Defendant Giuliani attempted to and/or intends to comply with his discovery
        obligations in this case, including but not limited to: the complete list of all of the likely repositories of
        responsive information, including the devices, email, social media, and communications accounts; his
        collection methodology; his search methodology; the discovery vendor; and search terms;


 As per above, we now have the electronic devices taken. I am attaching an inventory sheet from the DOJ
showing what devices were returned. Some of them were returned last year but they were old devices and/or
not Giuliani's and did not have responsive information. The others were recently returned and we are in the
process of searching those.

    1.
    2. A detailed writing of the specific devices, email, social media, and communications accounts, any and all
        online/cloud‐based accounts or back‐ups, and any other materials that the DOJ seized. At the same time,
        confirm that Mr. Giuliani no longer has direct access to any of these materials and, if so, please explain why
        that is the case. If Mr. Giuliani has direct access to any repositories likely to contain responsive information,
        including but not limited to those materials seized, confirm and detail in writing (1) which repositories those
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           are, (2) whether the contents of those repositories were collected, searched, and/or produced in Defendant’s
           First Production and, if not, confirm that Mr. Giuliani will do so consistent with his discovery obligations in this
           case;


 We are determining what we still have access to as far as icloud, email accounts, etc. we have access to that
would have information from the relevant time frame. We lost access to some of these accounts after the
seizure and we will need to assess the status -- that is taking some time. I will try and obtain another inventory
sheet showing the return of the other devices similar to the one I am attaching for you. You are aware of the
publicly-known social media accounts, I do not believe there are any more, but I will verify.

      1.
      2. An explanation of the origins of the documents in the First Production, which Mr. Giuliani was able to access
           despite having had materials seized by the DOJ;


I believe I have answered this in response to question 1.

      1.
      2. And amended First RFP R&Os addressing the deficiencies outlined in my letter dated August 5, 2022.


I will get you a more formal amended response (I prefer doing it after I can review the electronic devices to be
complete in the responses), but let me address the items you raised in the letter here. First, there are no other
agreements with OAN that Giuliani recalls. Second, I am not aware of any documents sufficient to summarize
viewer or listener metrics. I am not saying these documents do not exist, but I am not an expert in these types
of matters and neither is my client and so I am not sure what documents these would be (assuming they
exist). Whether they do or do not, I will nevertheless work on getting these documents/information for you
whatever the document/format needs to be.

We will continue to work on attempting to address further issues in the letter such as privilege, etc. within the
coming weeks.

Best,

Joe

      1.



 Thank you,

 Annie




 M.Annie Houghton-Larsen
 Willkie Farr & Gallagher LLP
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 Direct: +1 212 728 8164 | Fax: +1 212 728 9164
                                                               3
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mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers

From: Joe Sibley <sibley@camarasibley.com>
Sent: Friday, August 12, 2022 2:52 PM
To: Houghton‐Larsen, M Annie <MHoughton‐Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; John Langford
<john.langford@protectdemocracy.org>
Subject: Re: Freeman ‐ Discovery Deficiencies




                                          *** EXTERNAL EMAIL ***



I know your letter requests responses to many items today -- but there are too many issues/too much
information to gather here to respond by today.



We are going to need another week to address and supply information to the issues you requested we respond
to by today. We will provide you with a full response by next Friday, August 19th.



Thanks,

Joe



On Fri, Aug 5, 2022 at 12:23 PM Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com> wrote:

 Joe,



 Thank you for the confirmation. We look forward to receiving your full response.



 Thanks,

 Annie




 M.Annie Houghton-Larsen
 Willkie Farr & Gallagher LLP

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Pronouns: she, her, hers

From: Joe Sibley <sibley@camarasibley.com>
Sent: Friday, August 5, 2022 1:19 PM
To: Houghton‐Larsen, M Annie <MHoughton‐Larsen@willkie.com>
Cc: Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; John Langford
<john.langford@protectdemocracy.org>
Subject: Re: Freeman ‐ Discovery Deficiencies




                                         *** EXTERNAL EMAIL ***



We will fully respond to the issues outlined in your letter, however, out of the gate I can tell you that we
produced to you all of the documents that were produced to Dominion and we did not withhold any of those
documents. I don't recall exactly what I told you over the phone as far as volume, but I may have confused
the number of "pages" with "documents". In any event, I can confirm you have all of the documents that
were part of the Dominion production.



On Fri, Aug 5, 2022 at 8:34 AM Houghton-Larsen, M Annie <MHoughton-Larsen@willkie.com> wrote:

 Mr. Sibley,



 Please find attached correspondence.



 Thank you,

 Annie


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